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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

CHAPTER 13 PLAN ndividual Adj ts ent of Debts
C] Original Plan
[w] Second Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
CT Modified Plan (Indicate Ist, 2nd, etc. Modified, if applicable)
DEBTOR: Lisandra Hernandez JOINT DEBTOR: CASE NO.: 23-17419-LMI
SS#: xxx-xx- 4505 SS#: XXX-Xx-
1, NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and

modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph [X. Debtor(s) must check one box
on each line listed below in this section to state whether the plan includes any of the following:

The valuation of a secured claim, set out in Section III, which may result in a
partial payment or no payment at all to the secured creditor
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

[(_] Included [m] Not included

out in Section Ii! [_]_ Inchided [mw] Not included
Nonstandard provisions, set out in Section IX (m] Included ([] Not included
Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT; This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. .$214.87 formonths 1 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: (J NONE C1 PRO BONO
Total Fees: $4,650.00 Total Paid: $1,500.00 Balance Due: $3,150.00
Payable $193.38 ‘month (Months 1 to 16 )
Payable $55.92 ‘month (Months 17 to 17 )

Allowed fees under LR 2016-I(B)(2) are itemized below:
Attorney Fee: Safe Harbor $4,500.00 Attorney's Fees + 150.00 Costs = $4,650.00

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
Total Fees: $1,451.00 Total Paid: $1,451.00 Balance Due: $0.00

Payable $0.00 /month (Months 1 to 60 )

Allowed fees under LR 2016-I(B)(2) are itemized below:
Attorney fees for Robert M. Geller, Esq.

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
Tl. TREATMENT OF SECURED CLAIMS [_] NONE

A. SECURED CLAIMS: [i] NONE

B. VALUATION OF COLLATERAL: [ii] NONE

C. LIEN AVOIDANCE [m] NONE

D. SURRENDER OF COLLATERAL: [i] NONE

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VI.
VII.
VII.

IX.

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E. DIRECT PAYMENTS [] NONE

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
1 Caliber Home Loans 8808 8415 SW 107 Avenue #160 W, Miami, FL 33173
5 World Omni Financial Corp. 6497 2021 Toyota Highlander

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)] [i] NONE
TREATMENT OF UNSECURED NONPRIORITY CREDITORS [_) NONE
‘A. Pay $137.46 ‘month (Months 17 to 17 )

Pay $193.38. ‘month (Months 18 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. (J If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [mi] NONE
STUDENT LOAN PROGRAM [8] NONE

[W] NONE

[mi] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

IN-ST RD P IONS [[] NONE

(@) Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
before confirmation

[-] Mortgage Modification Mediation

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PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

s YEA
{ Pal an Debtor Joint Debtor
Date Date

Lisandra Hednandez

. i. . Date
Attorney with permission to sign on

Debtor(s)’ behalf who certifies that
the contents of the plan have been
reviewed and approved by the

Debtor(s). !

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph IX.

I This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)! attorney authorizing the
attorney to sign documents on the Debtor(s)’ behalf.

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